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                           United States District Court
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

 SECURITIES AND EXCHANGE COMMISSION,                        §
                                                            §
        Plaintiff,                                          §
                                                            §
 v.                                                         §
                                                            §
 PHILLIP MICHAEL CARTER, Individually and                   §
 d/b/a NORTH FORTY DEVELOPMENT CAPITAL                      § Case No.:
 ACCOUNT, BOBBY EUGENE GUESS, RICHARD                       § 4:19-cv-00100-ALM-KPJ
 GREGORY TILFORD, NORTH-FORTY                               §
 DEVELOPMENT LLC, NORTH FORTY                               §
 DEVELOPMENT, LLC, TEXAS CASH COW, LLC,                     §
 f/k/a TEXAS CASH COW INVESTMENTS, LLC,                     §
 and TEXAS FIRST FINANCIAL, LLC,                            §
                                                            §
 Defendants, and                                            §
                                                            §
 FRISCO WADE CROSSING DEVELOPMENT                           §
 PARTNERS, LLC, MCKINNEY EXECUTIVE                          §
 SUITES AT CRESCENT PARC DEVELOPMENT                        §
 PARTNERS, LLC, CHRISTIAN CUSTOM HOMES,                     §
 LLC, and DOUBLE DROPTINE RANCH, LLC                        §
                                                            §
 Relief Defendants.                                         §

                                             ORDER

        Pending before the Court is Plaintiff Securities and Exchange Commission’s (“SEC”)

 Motion to Continue Deadlines (the “Motion”). See Dkt. 41. In the Motion, the SEC seeks to extend

 certain deadlines by sixty days. See id. The Motion is unopposed. See Dkt. 42.

        Upon consideration, the Motion (Dkt. 41) is hereby GRANTED. The deadlines set forth

 in the Court’s Order Governing Proceedings (Dkt. 39) are hereby CANCELLED. In light of the

 Motion, the Court hereby sets the following amended deadlines:

        1.     Rule 26(f) attorney conference on or before: June 19, 2019

        2.     Complete initial mandatory disclosure required by this Order: July 1, 2019
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             3.       File joint report of attorney conference: July 3, 2019. This should follow initial
                      mandatory disclosures, so a realistic proposal regarding depositions and other
                      discovery can be included.

             4.       The case is SET for a Rule 16 management conference on Wednesday, August
.                     14, 2019, at 1:30 p.m. before the United States Magistrate Judge in Courtroom
                      108, 7940 Preston Road, Plano, Texas 75024. Lead counsel for each party, with
                      authority to bind their respective clients, and all unrepresented parties, shall be
                      present. Continuance of the management conference will not be allowed absent a
                      showing of good cause1.

             IT IS SO ORDERED.

             SIGNED this 22nd day of April, 2019.

                          .


                                                         ____________________________________
                                                         KIMBERLY C. PRIEST JOHNSON
                                                         UNITED STATES MAGISTRATE JUDGE




     1
      Before the case management conference, counsel and unrepresented parties should review the most recent versions
     of the Federal Rules of Civil Procedure and the Local Rules for the Eastern District of Texas. The Local Rules are
     available on the Eastern District of Texas website (www.txed.uscourts.gov).

                                                             2
